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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
        v.                                        :   Case No. 1:21-cr-00032-DLF
                                                  :
GUY WESLEY REFFITT,                               :
                                                  :
        Defendant.                                :

                                    JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and F. Clinton Broden, counsel for Guy Reffitt (“the defendant”), hereby

submit the following Joint Status Report:

   1. On September 15, 2021, the grant jury returned a superseding indictment charging the

       defendant with five criminal counts under 18 U.S.C. §§ 231(a)(2), 1512(c)(2), 1752(a)(1)

       and (b)(1)(A), 231(a)(3), and 1512(a)(2)(C).

   2. The Court presided over a trial from February 28, 2022 through March 8, 2022. On March

       8, 2022, a jury returned a verdict of guilty on all counts.

   3. On August 1, 2022, the defendant was sentenced to eight-seven (87) months’ incarceration

       to run concurrently, thirty-six (36) months of supervised release, $2,000 in restitution, and

       a $500 special assessment.

   4. On September 9, 2024, the D.C. Circuit Court of Appeals vacated the defendant’s

       conviction under 18 U.S.C. § 1512(c)(2), in light of the Supreme Court’s ruling in Fischer

       v. United States, 144 S. Ct. 2176 (2024), and the parties’ Joint Motion to Govern Further

       Proceedings. United States v. Reffitt, No. 22-3056, Document #2072057 (D.C. Cir. Aug.

       28, 2024).




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      5. On September 9, 2024, the Court ordered the parties to file a joint status report proposing

         a schedule for further proceedings.

      6. The parties have conferred and request that the Court set this matter for re-sentencing

         pursuant to the D.C. Circuit’s order vacating the defendant’s conviction under 18 U.S.C. §

         1512(c)(2). The parties are currently available on the following dates for a re-sentencing

         hearing:

             a. December 2, 2024 through December 5, 2024;

             b. December 16, 2024 through December 20, 2024;

             c. January 6, 2025 through January 10, 2025.

      7. The parties further request that the Court refer the matter to the Probation Office of the

         United States for the District of Columbia for a Presentencing Investigation Report,

         including a renewed calculation under the Sentencing Guidelines in light of the D.C.

         Circuit’s ruling vacating the defendant’s conviction under 18 U.S.C. § 1512(c)(2).

      8. Upon setting a date for the re-sentencing hearing, the parties request that the Court also set

         a deadline for the parties to submit new sentencing memoranda. The parties request that

         the Court set this deadline at least one week in advance of the scheduled re-sentencing

         hearing.



Respectfully submitted,

         MATTHEW M. GRAVES
         United States Attorney

By:       /s/ Rachel Freeh
         Rachel Freeh
         Jeffrey S. Nestler
         Assistant United States Attorneys
         D.C. Bar No. 176082




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